  8:10-cr-00066-JFB-FG3 Doc # 14 Filed: 03/23/10 Page 1 of 1 - Page ID # 18



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                       )
                                               )  8:10CR66
                           Plaintiff,          )
                                               )
                               vs.             ) NOTICE OF COMPLIANCE OF
                                               ) LOCAL CRIMINAL RULE 16.1(a)
RYAN J. SHUFFTY,                               )
                                               )
                           Defendant.          )

       COMES NOW the Plaintiff, United States of America, by and through the undersigned

Assistant United States Attorney and pursuant to Rule 16.1(a) of the Criminal Rules of the United
States District Court for the District of Nebraska, hereby gives notice that discovery material has

been provided to defendant in the above-captioned case.

       DATED this 23rd day of March, 2010.



                                                       UNITED STATES OF AMERICA
                                                       Plaintiff

                                                       DEBORAH R. GILG
                                                       United States Attorney


                                                       s/Andrea E. Belgau
                                                       ANDREA E. BELGAU #20657
                                                       Assistant U.S. Attorney
                                                       1620 Dodge Street, #1400
                                                       Omaha, Nebraska 68102-1506
                                                       (402) 661-3700



                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2010, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following: Glenn A. Shapiro, Attorney at Law.



                                                       s/Andrea E. Belgau
                                                       ANDREA E. BELGAU
                                                       Assistant United States Attorney
